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  PROB 12B                                                                            SD/FL PACTS No.3763223
  (SD/FL 9/96)
                                UN ITED STATES DISTR ICT CO URT
                                 SOUTH ERN DISTRICT OF FLORIDA

                                CASE NO.: 1:17-20494-CR-AT,TO NA GA

                     RequestforM odipinetheConditionsorTerm ofSupervision
                                     W ith Consentofthe O ffender
                                     (Probatinn Form 49.W aiverofHcarineisAttached)

  N am e ofOffender:Legny Ram irez

  N am e of Sentencing JudicialOfficer:The H onorable Cecilia M .A ltonaga,United States D istrictJudge,
  M iam i,Florida

  Date ofOriginalSentence:Decem ber6,2017

  OriginalOffense:       Count1:lm portation ofatLeast500 Gram s ofCocaine into theU nited States,in
                         violationofTitle21U.S.C.j952(a),aClassB felony.
  OriginalSentence'
                  .       Twentpfour(24)monthscustodyoftheBureauofPrisons,followedbyfive(5)
                          yearssupervised release.Specialconditionsincluded,the defendantshall:1)
                          perform 100hoursofcommunityservice;and2)ifthedefendanthasanyunpaid
                          am ountofrestitution,finesorspecialassessm ents,the defendantshallnotify the
                          probation officer of any m aterial change in the defendant's econom ic
                          circum stancesthatmightaffectthedefendant'sabilitytopay.A $ 100.00special
                          assessm entw asordered.


  Type ofSupervision: Supervised Release         Date Supervision Com m enced: M arch 26,2019

                                     PETITION IN G TH E CO URT

         To extend theterm ofsupervision for              years,foratotaltenu of                  years.
         To m odify the conditionsofsupervision asfollow s:


        T he defendantshallreside at and participate in the R esidentialR e-entry Center for a
        period notto exceed 180 days,or untilothe- ise released atthe direction ofthe United
        States Probation O fficer upon verification and approvalofresidence.

                                                CA USE

        OnAugust2,2018,thedefendantarrived atRiversideResidentialReentryCenter(RRCIas
 pal4 ofhisBureau ofPrisonssentence.

         On M arch 26,2019,thedefendantisscheduled to bereleased from theBureau ofPrisons.The
 defendantdoesnothaveany fam ily orfinancialsupportin the Southern D istrictofFlorida.Therefore,
 the defendantw illbe hom eless.
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  PROB 12B                                                                      SD/FL PACTS No. 3763223
  (SD/FL9/96)
        The defendant reported prior to his incarceration, he w as residing in Santo D om ingo,
 Dom inican Republic. The defendantis unem ployed.

       The defendant is in need of a stable residence in order to allow him to transition into the
 comm unity in a safe m anner. This officerw asunsuccessfulin securing a bed forthe defendantata
 homelessshelter.Therefore,placingthedefendantattheResidentialReentry Center(1LRC)aspal4
 ofhissupervised release isthe lastoption availableto thisofficerand the defendant.TheRRC would
 Providethedefendantwiththestabilityheneeds,whilehesecuresstableresidence.
        The defendantw as presented with this inform ation and consequently voluntarily signed the
 enclosed Waiverof Hearing to Modh Conditionsof Supervised Release,agreeing to modify his
 conditionsofreleaseto resideatand participate in theRRC foraperiod of180 days,oruntilotherwise
 released atthe direction of the U nited States Probation Officer,upon verification and approvalof
 residence.

        RE COM M ENDA TIO N :As such,it is respectfully recom m ended YourH onor m odify the
 conditionsofsupervisedreleaseallowingthedefendantto resideatandparticipate in theResidential
 Re-entry Centerfora period notto exceed 180 days,oruntilotherwise released atthe direction ofthe
 United StatesProbation Officer,upon verification and approvalofresidence.


                                                    Respectfully subm itted,

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                                                                   'lr/lrire
                                                                           i-
                                                                            lllnt
                                                                                e
                                               y:
                                                    Betty M enendez-Aponte,Senior
                                                    United StatesProbation Offcer
                                                    Office:(305)523-5317
                                                    Cellular:(305)967-0700          (& =.
                                                                                        =
                                                    Date:M arch 12,2019

  THE COURT O RDERS:

  EEI     oAction
         The M odification ofConditionsasN oted Above
  IZ1    SubmitaRequestforEE1W arrantorL Summ ons



                                                          Signature ofJudicialO cer


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